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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
IN RE: Chapter 13
ANTHONY WAYNE STANSBERRY, Case No: 8:14-bk-13668-KRM
JENNIFER LYNN STANSBERRY,
Debtors. f

 

AMENDED CHAPTER 13 PLAN
(Arnends Docket #4)
C§IECK ONE:

X The Debtor1 certifies that the Plan does not deviate from the model plan adopted by
the Court at the time of the filing of this case. Any nonconforming provisions are deemed stricken

The Plan contains provisions that are specific to this Plan in Additional Provisions
paragraph 8{e; below. Any nonconforming provisions not set forth in paragraph S(e) are deemed
stricken

 

1. MON'I`HLY PLAN PAYMENTS: Plan payments include the Trustee‘s fee of 10% and shall
begin thirty {39) days from filing/conversion date. The Debtor shall make payments to the 'I`rustee
for the period of sixty (60) months ln the event the Trustee does not retain the full IO%, any portion
not retained Will be paid to unsecured creditors pro ram under the plan:

A. $3,584.00 for months one through sixty (60);
in order to pay the following creditors:

2. ADMINISTRATIVE ATTORNEY FEE: $3 125.0() m T{)TAL PA.IB 533 125.09

 

Balance Due $0.00 Payable Through Plan $0.00 Monthly
3. PRIORITY CLAIMS [as defined in 11 U.S.C. §507]:
Name of Creditor 'I‘etal Claim

None

 

 

 

4. TRUSTEE FEES: Trustee shall receive a fee from each payment received the

 

1 All references to “Debtor” include and refer to both of the debtors in a case filed jointly by two individuals

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percentage of Which is fixed periodically by the United States Trustee.
5. SECURED CLAIMS:

Pre-Conflrmati on payments allocated to secured creditors under the Plan, other than amounts
allocated to cure arrearages, shall be deemed adequate protection payments To the extent the Debtor
makes such pre-confirmation payments, secured creditors who have filed proofs of claim prior to
the claims bar date or within 14 days from the date of an order converting or dismissing this case,
whichever date is earlier, shall have an administrative lien on such payment(s), pro rata with other
secured creditors, subject to objection by the Debtor or Trustee.

(A) Claims Secured by Real Property Which Debter Intends to Retain/ Mortgage
Payments and Arrears, If Any, I-"aid through the Plan: lt` the Plan provides for the curing of
prepetition arrearages on a mortgage the Debtor will pay, in addition to all other sums due under
the proposed Plan, all regular monthly post-petition mortgage payments to the Trustee as part of the
Plan. These mortgage payments, Which may be adjusted up or down as provided for under the loan
documents, are due beginning the first due date after the case is filed and continuing each month
thereafter. The Trustee shall pay the post-petition mortgage payments on the following mortgage
claims:

 

Name of Creditor Collateral Regular Monthly Pmt. Arrearages (if any)
Select Portfo]io ( l“ intel Homestead $2,6()1.00 lS.GOU.{)€)
Grand Harni)ton H()A Hornestead 0.00 9.0()0.00

 

 

(B) Claims Secured by Real Property/Debtor Intends to Seek Mortgage Modiiication:
Pending the resolution of a mortgage modification request, the Debtor shall make the following
adequate protection payments to the Trustee, calculated at 31% of the Debtor’s gross monthly
income Absent further order of this Court, the automatic stay shall terminate effective 6 months
after the filing of the Debtor’s bankruptcy petition:

Name of Creditor Collateral Payment Amt (a.t 31 %_)

None

 

 

(C) Liens to he AvoidedlStripped:

 

blame of Creditor Collateral Estimated Alnount
A.sset Accer)tance Homestead 18.091.50
CACH. L.LC. Homestead 4.673.?8

 

Ford Motor Credit Homestead 26.000.00

 

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Portfolio Recoverv Associate Homestead 5 .5 14.05
Select Portfolio (ZDd Mortaaae) Homestead 132.085.46

(f)) Claims Secured by Real Property or Personal Property to Which Section 506
Valuation APPLIES: Pnrsnant to 1 l U.S.C. § 13220:))(2), this provision does not apply to a claim
secured solely by the Debtor’s principal residence 'l`he secured portion of the claim, estimated
bclow, and to be determined in connection with a motion to determine secured status, shall be paid
as follows:

Creditor Collateral Value Payinent Interest @ %

N one

 

 

(E) Claims Secured by Real Property and/or Personal Property to Which Section
506 Valuation DOES NOT APPLY: Claims of the following secured creditors shall be paid in
full with interest at the rate set forth below as follows

Creditor Collateral Balance Payment Interest @ %

None

 

 

(F) Claiins Secnred by Personal Property / Regnlar Payments and Arrearages, if any,
Paid in l"ian:

Name of Creditor Collateral Regular Payrnent Arrearages

None

 

 

(G») Secured Claims/Lease Claims Paid Direct by the I)ebtor: The following secured
claims/lease claims are to be paid direct to the creditor or lessor by the Debtor outside the Plan. The
automatic stay and any codebtor stay are terminated in rem as to these creditors and lessors upon
the filing of this Plan. N othing herein is intended to terminate or abrogate the Debtor’s state law
contract rights The Plan must provide for the assumption of lease claims in the lease/Executory
Contract section below.

 

Nanne of Creditor Property/Collateral
Doun Belden (Daid bv mortgage holderl Homestead
Santander Consumer USA l2 leon Libertv

 

Westlake Financial 06 Mercedes CLSSS()

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Grand Hamnton HOA Homestead

(I-I) Secured Claims/Lease Clainls Not Provided for Under the Plan: The following
secured claims/leased claims are not provided for under the Plan. As such the automatic stay and
any codebtor stay do not apply and the Debtor’s liability to the creditor is N{)T DISCHARGED
under the Plan. Nothing herein is intended to abrogate the Debtor’s state law contract rights.

Name of Creditor Property/Collateral

None

 

 

(I) Surrender of` CollateraULeased Property: l)el)tor will surrender the following
collateral/leased property no later than thirty (30) days from the filing of the petition unless specified
otherwise in the Plan. The automatic stay and any codebtor stay are terminated in rem as to these
creditors and lessors upon the filing of this Plan. The Plan must provide for the rejection of lease
claims in the lease/Executory Contract section below.

 

 

 

 

Name of Creditor Property/Collateral to be
Surrendered
Doug Belden 20l 13 Fair Hill Wav
Grand Hamnton Communitv 201.13 Fair Hill Wav
Green Tree 20113 Fair Hill Wav
Nationstar l\/lortgage LLC 20113 Fair l-Iill Wav
Harlev Davidson Credit Coro 00 Harlev Davidson

 

6. LEASES/EXECUT()RY CONTRACTS:
Name of Creditor Property Assume/Reject-Surrender Estimated Arrears

A'l`&’l" None Assume ().(ll,

 

 

7, GENERAL UNSECURE¥) CREDITORS: General unsecured creditors vvith allowed claims
shall receive a pro rata share of the balance of any funds remaining after payments to the above
referenced creditors or shall otherwise be paid pursuant to the provisions of a subsequent Order
Confirming Plan. The estimated dividend to unsecured creditors is $l 2 820.00.

 

8. ADDITXONAL PR()VISIONS:

(a) Secured creditors, whether or not dealt vvith under the Plan5 shall retain the liens securing
such claims;

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(b) Payrnents made to any creditor shall be based upon the amount set forth in the creditor’s
proof of claim or other amount as may be allowed by a specific Order of the Bankruptcy Court.

(c) Property of the estate (check one)*

l. shall not vest in Debtor until the earlier of Debtor’s discharge or dismissal of
this case, uniess the Court orders otherwise; or

2. X shall vest in the Debtor upon confirmation of the Plan.

*If the Debtor fails to check (a) or (h) above, or if the Debtor checks both {a) and (b), property
of the estate shall not vest in the Debtor until the earlier of the Debtor’s discharge or dismissed
of this case, unless the Court orders otherwise

3. The amounts listed for claims in this Plan are based upon Debtor’ s best estimate and
belief The Trustee shall only make payment to creditors With filed and allowed
proof of claims. An allowed proof of claim wili be controlling, unless the Court
orders otherwise

4. Case Specific Provisions: None

 

 

 

 

 

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l HEREBY CER'I`IFY on this = g:"gtiay of P'ebt’uas§g, 2015, that a true and correct copy of

 

 

 

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the foregoing has been served upon all interested parties by l CMIECF Eiectronic Mail to:

Muharnmad Esa Ahrned , Attorney for The Bank of New York Mellon,
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Kelly Rernick, Trustee, ecf@ chl’a’tampa.com

Gavin Stewart, Attorney for Hariey Davidson, bkil @bucl<leymadole.corn

United States Trustee - TPA7/13, USTPRegionZl .TP.ECF@USDOJ.GOV
and by l Regular U.S. Mail to:

Harley-Davidson Credit Corp., PO Box 9013, Addison, Texas 75001;

Anthony and Iennifer Stansberry, 20001 Pergola Bend Lane, Tarnpa, Florida 3364'7-
3449; and

Matrix

Respectfully submitted,
, P.A.,

    
   
 

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Attorney for l'.)ebtors

 

Labal Matrix for local noticing

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Tue Mar 3 03:44:13 EST 2015

Jennifer Lynn Stansberry
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p0 sex 163853
iaiireror rt 76095-3353

American Express
c/o Collectcorp
90 ch lGISZE, Dept t947A
Birmingham, AL 35210-6928

BB&T, Banktuptcy Section
100~56-01-51

P.O. Box 3847

wilson, NC 27894-1847

Banktirst/EB & T
Attention: Bankruptcy
PO Box 1847

Wilson, NC 27394-184?

CACH, LLC.
4340 S Monaco an FL
Denvar, CO 80237~3485

Capital § Bank

Attn: Ganeral Correspondence
PD Box 36285

Salt take City, UT 84130-828§

Chasa
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Coiunbus, OH 43224~0696

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531 E. Kennedy Blvd Ste 1906
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Bank of Anerica

Attn: Correspondence Unit/CAG-§l§-UZ~tl
PO Box 5170

Sini Valley, CA 93562~5170

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90 sex 992239
rt PAso ix 79993-2233

Cach LLC

c/o Andreu Palma & Andreu
761 SW 27th Ave Ste 900
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Capital One Bank

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6875 kern Dt Ste 299

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an Fioor
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Coiumbus, GH 43219-6009

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Grand Hampton Community
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STQ 212

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stlanta, GA 30348-5204

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Gavin Stewart +
Buckley Madole, P.C.
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c/o Absolute Credit Svc

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nrs norris n sons-ann

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Kahane and Associates

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Keily Renick +

Chapter 13 Standing Trustee
Post 0£fice Box 6099

Sun City, FL 33571-6099

The preferred mailing address {p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a matias of Addrass filed pursuant to 11 U.S.El 342[£) and Fed.R.Bank.P. 2002 (gj{§),

Aneri€redit
PG Box 183593
Arlington, 11 76096

Ca§ One

Attn: TSYS Debt agent
00 Box 5155

Norcrossi 01 30091

De11
PO Box 6403
Carol Stream, 10 60197-6403

(d)Anericredit
PO Box 103853
Arlingtoa, TX 76096

Citi

Attentionr Baakruptcy
90 Box 20507

Kansas City, MO 64915

{d)Dell Financial Services
12234 North Ih 35
Austin, TX 70753

Bk 00 Amer
90 on 902235
El Pasc, TX 79993

(d)Citi Cards
00 Box 6417
The Lakes, NV 30901-6417

Discover
PO Box 15251
wilsington, DB 19806-5251

Case 8:14-bk-13668-RCT DOC 37 Filed 03/04/15 Page 11 of 11

Jefferson Capital Systems Nationstar Mortgage LLC Wachovia Bank Nafftu
15 Mcleland Rd Attn: Bankruptcy PO Box 3117
Saint Cloudr MN 55303 350 Highland Dr Winston Salem, NC 21302

Lewisville, TX 75067'

Wells Fargo Hm Mortgag
8400 Stagecoacb Cir
Frederick; 00 21701

The following recipients may be/have been bypassed for notice due to an undelivera§le (u} or duglicate (é) address.

{d)Capitai One Bnd of Labei Matrix

PO Box 30285 Mailable recipients 107
Sal% Lake City. UT 84130-0205 Bypassed recipients l

Total 100

